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                        EXHIBIT E
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   (12)   United States Patent                                                                     (10)    Patent No.:     US 8,218,610 B2
          Tzannes                                                                                  (45)    Date of Patent:     *Jul. 10,2012

   (54)   SYSTEM AND METHOD FOR                                                                            375/320,324,340; 370/281,295,343,480-481;
          DE SCRAMBLING THE PHASE OF CARRIERS                                                                                                455173,91, 108
          IN A MULTICARRIER COMMUNICATIONS                                                             See application file for complete search history.
          SYSTEM
                                                                                              (56)                       References Cited
   (75)   Inventor:    Marcos C. Tzannes, Orinda, CA (US)
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   (73)   Assignee: Aware, Inc., Bedford, MA (US)                                                    3,898,566 A           8/1975 Switzer et al.
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   ( *)   Notice:      Subject to any disclaimer, the term of this
                                                                                                                               (Continued)
                       patent is extended or adjusted under 35
                       U.S.c. 154(b) by 0 days.
                                                                                                            FOREIGN PATENT DOCUMENTS
                       This patent is subject to a terminal dis-                              EP                     0584534               3/1994
                       claimer.
                                                                                                                               (Continued)
   (21)   Appl. No.: 131284,549
                                                                                                                     OTHER PUBLICATIONS
   (22)   Filed:       Oct. 28, 2011                                                          U.S. Appl. No. 13/303,417, filed Nov. 23, 2011, Tzannes.

   (65)                   Prior Publication Data                                                                               (Continued)
          US 2012/0044977 Al               Feb. 23, 2012                                      Primary Examiner - Lawrence B Williams
                                                                                              (74) Attorney, Agent, or Firm - Jason H. Vick; Sheridan
                    Related U.S. Application Data
                                                                                              Ross, PC
   (60)   Continuation of application No. 111860,080, filed on
          Sep. 24, 2007, now Pat. No. 8,073,041, which is a                                   (57)                          ABSTRACT
          division of application No. 111211,535, filed on Aug.
                                                                                              A system and method that demodulates the phase character-
          26, 2005, now Pat. No. 7,292,627, which is a
          continuation of application No. 091710,310, filed on                                istic of a carrier signal are described. The scrambling of the
          Nov. 9,2000, now Pat. No. 6,961,369.                                                phase characteristic of each carrier signal includes associat-
                                                                                              ing a value with each carrier signal and computing a phase
   (60)   Provisional application No. 601164,134, filed on Nov.                               shift for each carrier signal based on the value associated with
          9,1999.                                                                             that carrier signal. The value is determined independently of
                                                                                              any input bit value carried by that carrier signal. The phase
   (51)   Int. Cl.                                                                            shift computed for each carrier signal is combined with the
          H04B 1/38                (2006.01)                                                  phase characteristic of that carrier signal so as to substantially
          H04L 5/12                (2006.01)                                                  scramble the phase characteristic of the carrier signals. Bits of
          H04L 27/36               (2006.01)                                                  an input signal are modulated onto the carrier signals having
          H04L 27/06               (2006.01)                                                  the substantially scrambled phase characteristic to produce a
   (52)   U.S. Cl. ......... 3751222; 375/261; 375/298; 375/316                               transmission signal with a reduced PAR.
   (58)   Field of Classification Search .................. 375/219,
                   375/220,222,259-261,267,298-299,316,                                                          31 Claims, 2 Drawing Sheets

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                                              76                                                                                             34

                                           ;4 \         t                                                                                  ~
                                • ~ SCrambler'! l
                                                       QAM    >-58....
                            -                         Encoder f-'S....
                                                              f--5S....
                                                                              I    Phase
                                                                                  Scrambler
                                                                                              I       38
                                                        !!Z        f-5S....                                 f\
                                 t                                                                   AI
                                                                                                                         Receiver               00'
                                                                   -78....        Modulator

                                                                                     46
                                                                                                  ~~                  I Descrambler
                                                                                                                          Phase        r   V

                                     2~'                      ~6                                                                             30


                                     I                 Receiver                                                          Transmitter   r   IV

                                                                                                                          Remote
                                                                                                                        Transceiver
                                                                                                                            19;
                                                    Tr,,"seeiver 1Q
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                      100           GENERATE VALUE(S)




       STEP 110               r------------ -----------
                                  COMMUNICATE VALUE(S)
                                              SYNCHRONIZE



                                   COMPUTE PHASE SHIFT




                                COMBINE PHASE SHIFT WITH
                      120              CHARACTERISTIC
                                   rI_':-U-
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       C'''''1'''"n   130 _    COMBINE CARRIER SIGNALS INTO              I
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                                  A TRANSMISSION SIGNAL                  I
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                                                                         I
                                                                   TRANSMIT   I
                                      DETeCT CUPPING
                STEP 140              OF TRANSMISSION             PREDEFINED :
                                           SIGNAL                   SIGNAL _ _ .iI
                                              ?                              STEP
                                                                              150



                      160


                                               FIG. 2
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                                                        US 8,218,610 B2
                                 1                                                                       2
            SYSTEM AND METHOD FOR                                         aged value of the signal parameter. In DMT systems, the PAR
     DE SCRAMBLING THE PHASE OF CARRIERS                                  of the transmitted signal is determined by the probability of
      IN A MULTICARRIER COMMUNICATIONS                                    the random transmission signal reaching a certain peak volt-
                    SYSTEM                                                age during the time interval required for a certain number of
                                                                          symbols. An example of the PAR of a transmission signal
                   RELATED APPLICATION                                    transmitted from a DMT transmitter is 14.5 dB, which is
                                                                          equivalent to having a lE-7 probability of clipping. The PAR
     This application is a continuation of U.S. application Ser.          of a transmission signal transmitted and received in a DMT
  No. 111860,080, filed Sep. 24, 2007, now U.S. Pat. No. 8,073,           communication system is an important consideration in the
  041, which is a divisional of U.S . application Ser. No. 111211,   10   design of the DMT communication system because the PAR
  535, filedAug. 26, 2005, now U.S. Pat. No. 7,292,627, which             of a signal affects the communication system's total power
  is a continuation of U.S. application Ser. No. 091710,310,              consumption and component linearity requirements of the
  filed on Nov. 9, 2000, now U.S. Pat. No. 6,961,369, which               system.
  claims the benefit of the filing date of U.S. Provisional Appli-           If the phase of the modulated carriers is not random, then
  cation Ser. No. 601164,134, filed Nov. 9, 1999 now aban-           15   the PAR can increase greatly. Examples of cases where the
  doned, entitled "A Method For Randomizing The Phase Of                  phases of the modulated carrier signals are not random are
  The Carriers In A Multicarrier Communications System To                 when bit scramblers are not used, multiple carrier signals are
  Reduce The Peak To Average Power Ratio Of The Transmit-                 used to modulate the same input data bits, and the constella-
  ted Signal," each which are incorporated by reference herein            tion maps, which are mappings of input data bits to the phase
  in their entirety.                                                 20   of a carrier signal, used for modulation are not random
                                                                          enough (i.e., a zero value for a data bit corresponds to a 90
                 FIELD OF THE INVENTION                                   degree phase characteristic of the DMT carrier signal and a
                                                                          one value for a data bit corresponds to a -90 degree phase
    This invention relates to communications systems using                characteristic of the DMT carrier signal). An increased PAR
  multicarrier modulation.                                           25   can result in a system with high power consumption and/or
    More particularly, the invention relates to multi carrier             with high probability of clipping the transmission signal.
  communications systems that lower the peak-to-average                   Thus, there remains a need for a system and method that can
  power ratio (PAR) of transmitted signals.                               effectively scramble the phase of the modulated carrier sig-
                                                                          nals in order to provide a low PAR for the transmission signal.
            BACKGROUND OF THE INVENTION                              30
                                                                                      SUMMARY OF THE INVENTION
     In a conventional multicarrier communications system,
  transmitters communicate over a communication channel                      The present invention features a system and method that
  using multicarrier modulation or Discrete Multitone Modu-               scrambles the phase characteristics of the modulated carrier
  lation (DMT). Carrier signals (carriers) or sub-channels           35   signals in a transmission signal. In one aspect, a value is
  spaced within a usable frequency band of the communication              associated with each carrier signal. A phase shift is computed
  channel are modulated at a symbol (i.e., block) transmission            for each carrier signal based on the value associated with that
  rate of the system. An input signal, which includes input data          carrier signal. The value is determined independently of any
  bits, is sent to a DMT transmitter, such as a DMT modem. The            input bit value carried by that carrier signal. The phase shift
  DMT transmitter typically modulates the phase characteris-         40   computed for each carrier signal is combined with the phase
  tic, or phase, and amplitude of the carrier signals using an            characteristic of that carrier signal to substantially scramble
  Inverse Fast Fourier Transform (IFFT) to generate a time                the phase characteristics of the carrier signals.
  domain signal, or transmission signal, that represents the                 In one embodiment, the input bit stream is modulated onto
  input signal. The DMT transmitter transmits the transmission            the carrier signals having the substantially scrambled phase
  signal, which is a linear combination of the multiple carriers,    45   characteristic to produce a transmission signal with a reduced
  to a DMT receiver over the communication channel.                       peak-to-average power ratio (PAR). The value is derived from
     The phase and amplitude of the carrier signals of DMT                a predetermined parameter, such as a random number gen-
  transmission signal can be considered random because the                erator, a carrier number, a DMT symbol count, a superframe
  phase and amplitude result from the modulation of an arbi-              count, and a hyperframe count. In another embodiment, a
  trary sequence of input data bits comprising the transmitted       50   predetermined transmission signal is transmitted when the
  information. Therefore, under the condition that the modu-              amplitude of the transmission signal exceeds a certain level.
  lated data bit stream is random, the DMT transmission signal               In another aspect, the invention features a method wherein
  can be approximated as having a Gaussian probability distri-            a value is associated with each carrier signal. The value is
  bution. A bit scrambler is often used in the DMT transmitter            determined independently of any input bit value carried by
  to scramble the input data bits before the bits are modulated to   55   that carrier signal. A phase shift for each carrier signal is
  assure that the transmitted data bits are random and, conse-            computed based on the value associated with that carrier
  quently, that the modulation of those bits produces a DMT               signal. The transmission signal is demodulated using the
  transmission signal with a Gaussian probability distribution.           phase shift computed for each carrier signal.
     With an appropriate allocation of transmit power levels to              In another aspect, the invention features a system compris-
  the carriers or sub-channels, such a system provides a desir-      60   ing a phase scrambler that computes a phase shift for each
  able performance. Further, generating a transmission signal             carrier signal based on a value associated with that carrier
  with a Gaussian probability distribution is important in order          signal. The phase scrambler also combines the phase shift
  to transmit a transmission signal with a low peak-to-average            computed for each carrier signal with the phase characteristic
  ratio (PAR), or peak-to-average power ratio. The PAR of a               of that carrier signal to substantially scramble the phase char-
  transmission signal is the ratio of the instantaneous peak         65   acteristic of the carrier signals. In one embodiment, a modu-
  value (i.e., maximum magnitude) of a signal parameter (e.g.,            lator, in communication with the phase scrambler, modulates
  voltage, current, phase, frequency, power) to the time-aver-            bits of an input signal onto the carrier signals having the
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  substantially scrambled phase characteristics to produce a              QAM encoder 42 maps the input serial data bit stream 54 into
  transmission signal with a reduced PAR.                                 N parallel quadrature amplitude modulation (QAM) constel-
                                                                          lation points 58, or QAM symbols 58, where N represents the
             DESCRIPTION OF THE DRAWINGS                                  number of carrier signals generated by the modulator 46. The
                                                                          BAT 44 is in communication with the QAM encoder 42 to
     The invention is pointed out with particularity in the               specifY the number of bits carried by each carrier signal. The
  appended claims. The advantages of the invention described              QAM symbols 58 represent the amplitude and the phase
  above, as well as further advantages of the invention, may be           characteristic of each carrier signal.
  better understood by reference to the following description                The modulator 46 provides functionality associated with
  taken in conjunction with the accompanying drawings, in            10   the DMT modulation and transfonns the QAM symbols 58
  which:                                                                  into DMT symbols 70 each comprised of a plurality of time-
     FIG. 1 is a block diagram of an embodiment of a digital              domain samples. The modulator 46 modulates each carrier
  subscriber line communications system including a DMT                   signal with a different QAM symbol 58. As a result of this
  (discrete multitone modulation) transceiver, in communica-              modulation, carrier signals have phase and amplitude char-
  tion with a remote transceiver, having a phase scrambler for       15   acteristics based on the QAM symbol 58 and therefore based
  substantially scrambling the phase characteristics of carrier           on the input-bit stream 54. In particular, the modulator 46
  signals; and                                                            uses an inverse fast Fourier transform (IFFT) to change the
     FIG. 2 is a flow diagram of an embodiment of a process for           QAM symbols 58 into a transmission signal 38 comprised of
  scrambling the phase characteristics of the carrier signals in a        a sequence of DMT symbols 70. The modulator 46 changes
  transmission signal.                                               20   the QAM symbols 58 into DMT symbols 70 through modu-
                                                                          lation of the carrier signals. In another embodiment, the
                  DETAILED DESCRIPTION                                    modulator 46 uses the inverse discrete Fourier transfonn
                                                                          (IDFT) to change the QAM symbols 58 into DMT symbols
     FIG. 1 shows a digital subscriber line (DSL) communica-              70. In one embodiment, a pilot tone is included in the trans-
  tion system 2 including a discrete multitone (DMT) trans-          25   mission signal 38 to provide a reference signal for coherent
  ceiver 10 in communication with a remote transceiver 14 over            demodulation of the carrier signals in the remote receiver 34
  a communication chaunel18 using a transmission signal 38                during reception of the transmission signal 38.
  having a plurality of carrier signals. The DMT transceiver 10              The modulator 46 also includes a phase scrambler 66 that
  includes a DMT transmitter 22 and a DMT receiver 26. The                combines a phase shift computed for each QAM-modulated
  remote transceiver 14 includes a transmitter 30 and a receiver     30   carrier signal with the phase characteristic of that carrier
  34. Although described with respect to discrete multitone               signal. Combining phase shifts with phase characteristics, in
  modulation, the principles of the invention apply also to other         accordance with the principles of the invention, substantially
  types of multi carrier modulation, such as, but not limited to,         scrambles the phase characteristics of the carrier signals in
  orthogonally multiplexed quadrature amplitude modulation                the transmission signal 38. By scrambling the phase charac-
  (OQAM), discrete wavelet multitone (DWMT) modulation,              35   teristics of the carrier signals, the resulting transmission sig-
  and orthogonal frequency division multiplexing (OFDM).                  nal 38 has a substantially minimized peak-to-average (PAR)
     The communication channel 18 provides a downstream                   power ratio. The phase scrambler 66 can be part of or external
  transmission path from the DMT transmitter 22 to the remote             to the modulator 46. Other embodiments of the phase scram-
  receiver 34, and an upstream transmission path from the                 bler 66 include, but are not limited to, a software program that
  remote transmitter 3 0 to the D MT receiver 26. In one embodi-     40   is stored in local memory and is executed on the modulator
  ment' the communication channel 18 is a pair of twisted wires           46, a digital signal processor (DSP) capable of perfonning
  of a telephone subscriber line. In other embodiments, the               mathematical functions and algorithms, and the like. The
  communication chaunel18 can be a fiber optic wire, a quad               remote receiver 34 similarly includes a phase descrambler 66'
  cable, consisting of two pairs of twisted wires, or a quad cable        for use when demodulating carrier signals that have had their
  that is one of a star quad cable, a Dieselhorst-Martin quad        45   phase characteristics adjusted by the phase scrambler 66 of
  cable, and the like. In a wireless communication system                 the DMT transceiver 10.
  wherein the transceivers 10, 14 are wireless modems, the                   To compute a phase shift for each carrier signal, the phase
  communication channel 18 is the air through which the trans-            scrambler 66 associates one or more values with that carrier
  mission signal 38 travels between the transceivers 10, 14.              signal. The phase scrambler 66 detennines each value for a
     By way of example, the DMT transmitter 22 shown in FIG.         50   carrier signal independently of the QAM symbols 58, and,
  1 includes a quadrature amplitude modulation (QAM)                      therefore, independently of the bit value(s) modulated onto
  encoder 42, a modulator 46, a bit allocation table (BAT) 44,            the carrier signal. The actual value(s) thatthe phase scrambler
  and a phase scrambler 66. The DMT transmitter 22 can also               66 associates with each carrier signal can be derived from one
  include a bit scrambler 74, as described further below. The             or more predefined parameters, such as a pseudo-random
  remote transmitter 30 of the remote transceiver 14 comprises       55   number generator (pseudo-RNG), a DMT carrier number, a
  equivalent components as the DMT transmitter 22. Although               DMT symbol count, a DMT superframe count, a DMT hyper-
  this embodiment specifies a detailed description of the DMT             frame count, and the like, as described in more detail below.
  transmitter 22, the inventive concepts apply also to the receiv-        Irrespective of the technique used to produce each value, the
  ers 34, 26 which have similar components to that of the DMT             same technique is used by the DMT transmitter 22 and the
  transmitter 22, but perfonn inverse functions in a reverse         60   remote receiver 34 so that the value associated with a given
  order.                                                                  carrier signal is known at both ends of the communication
     The QAM encoder 42 has a single input for receiving an               channel 18.
  input serial data bit stream 54 and multiple parallel outputs to           The phase scrambler 66 then solves a predetennined equa-
  transmit QAM symbols 58 generated by the QAM encoder 42                 tion to compute a phase shift for the carrier signal, using the
  from the bit stream 54. In general, the QAM encoder 42 maps        65   value( s) associated with that carrier signal as input that effects
  the input serial bit-stream 54 in the time domain into parallel         the output of the equation. Any equation suitable for comput-
  QAM symbols 58 in the frequency domain. In particular, the              ing phase shifts can be used to compute the phase shifts.
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  When the equation is independent of the bit values of the                 increments by one every 69 DMT symbols. One exemplary
  input serial bit stream 54, the computed phase shifts are also            implementation that achieves the superframe counter is to
  independent of such bit values.                                           perform a modulo 68 operation on the symbol count. As
     In one embodiment (shown in phantom), the DMT trans-                   another example, the DMT transmitter 22 can maintain a
  mitter 22 includes a bit scrambler 74, which receives the input           hyperframe counter for counting hyperframes. An exemplary
  serial bit stream 54 and outputs data bits 76 that are substan-           implementation of the hyperframe count is to perform a
  tially scrambled. The substantially scrambled bits 76 are then            modulo 255 operation on the superframe count. Thus, the
  passed to the QAM encoder 42. When the bit scrambler 74 is                hyperframe count increments by one each time the super-
  included in the DMT transmitter 22, the operation of the                  frame count reaches 255.
  phase scrambler 66 further assures that the transmission sig-        10
  nal 38 has a Gaussian probability distribution and, therefore,               Accordingly, it is seen that some predefined parameters
  a substantially minimized PAR.                                            produce values that vary from carrier signal to carrier signal.
     FIG. 2 shows embodiments of a process used by the DMT                  For example, when the predefined parameter is the DMT
  transmitter 22 for adjusting the phase characteristic of each             carrier number, values vary based on the frequency of the
  carrier signal and combining these carrier signals to produce        15   carrier signal. As another example, the pseudo-RNG gener-
  the transmission signal 38. The D MT transmitter 22 generates             ates a new random value for each carrier signal.
  (step 100) a value that is associated with a carrier signal.                 Other predefined parameters produce values that vary from
  Because the value is being used to alter the phase character-             DMT symbol 70 to DMT symbol 70. For example, when the
  istics of the carrier signal, both the DMT transmitter 22 and
                                                                            predefined parameter is the symbol count, the superframe
  the remote receiver 34 must recognize the value as being             20
                                                                            count, or hyperframe count, values vary based on the numeri-
  associated with the carrier signal. Either the DMT transmitter
                                                                            cal position of the DMT symbol 70 within a sequence of
  22 and the remote receiver 34 independently derive the asso-
                                                                            symbols, superframes, or hyperframes. Predefined param-
  ciated value, or one informs the other of the associated value.
                                                                            eters such as the pseudo-RNG, symbol count, superframe
  For example, in one embodiment the DMT transmitter 22 can
                                                                            count, and superframe can also be understood to be param-
  derive the value from a pseudo-RNG and then transmit the             25
                                                                            eters that vary values over time. Anyone or combination of
  generated value to the remote receiver 34. In another embodi-
                                                                            the predefined parameters can provide values for input to the
  ment' the remote receiver 34 similarly derives the value from
                                                                            equation that computes a phase shift for a given carrier signal.
  the same pseudo-RNG and the same seed as used by the
  transmitter (i.e., the transmitter pseudo-RNG produces the                   In one embodiment, the phase scrambling is used to avoid
  same series of random numbers as thereceiverpseudo-RNG).             30   clipping of the transmission signal 38 on a DMT symbol 70
     As another example, the DMT transmitter 22 and the                     by DMT symbol 70 basis. In this embodiment, the DMT
  remote receiver 34 can each maintain a symbol counter for                 transmitter 22 uses a value based on a predefined parameter
  counting DMT symbols. The DMT transmitter 22 increments                   that varies over time, such as the symbol count, to compute
  its symbol counter upon transmitting a DMT symbol; the                    the phase shift. It is to be understood that other types of
  remote receiver 34 upon receipt. Thus, when the DMT trans-           35   predefined parameters that vary the values associated with
  mitter 22 and the remote receiver 34 both use the symbol                  carrier signals can be used to practice the principles of the
  count as a value for computing phase shifts, both the DMT                 invention. As described above, the transceivers 10, 14 may
  transmitter 22 and remote receiver 34 "know" that the value is            communicate (step 11 0) the values to synchronize their use in
  associated with a particular DMT symbol and with each car-                modulating and demodulating the carrier signals.
  rier signal of that DMT symbol.                                      40      The DMT transmitter 22 then computes (step 115) the
     Values can also be derived from other types of predefined              phase shift that is used to adjust the phase characteristic of
  parameters. For example, if the predefined parameter is the               each carrier signal. The amount of the phase shift combined
  DMT carrier number, then the value associated with a par-                 with the phase characteristic of each QAM -modulated carrier
  ticular carrier signal is the carrier number of that signal within        signal depends upon the equation used and the one or more
  the DMT symbol. The number of a carrier signal represents            45   values associated with that carrier signal.
  the location of the frequency of the carrier signal relative to              The DMT transmitter 22 then combines (step 120) the
  the frequency of other carrier signals within a DMT symbol.               phase shift computed for each carrier signal with the phase
  For example, in one embodiment the DSL communication                      characteristic of that carrier signal. By scrambling the phase
  system 2 provides 256 carrier signals, each separated by a                characteristics of the carrier signals, the phase scrambler 66
  frequency of 4.3125 kHz and spauning the frequency band-             50
                                                                            reduces (with respect to unscrambled phase characteristics)
  width from 0 kHz to 1104 kHz. The DMT transmitter 22                      the combined PAR of the plurality of carrier signals and,
  numbers the carrier signals from 0 to 255. Therefore, "DMT
                                                                            consequently, the transmission signal 38. The following three
  carrier number 50" represents the 51st DMT carrier signal                 phase shifting examples, PS #1-PS #3, illustrate methods
  which is located at the frequency of 215.625 kHz (i.e.,                   used by the phase scrambler 66 to combine a computed phase
  51x4.3125 kHz).                                                      55   shift to the phase characteristic of each carrier signal.
     Again, the DMT transmitter 22 and the remote receiver 34
  can know the value that is associated with the carrier signal
  because both the DMT transmitter 22 and the remote receiver                                Phase Shifting Example #1
  34 use the same predefined parameter (here, the DMT carrier
  number) to make the value-carrier signal association. In other       60      Phase shifting example #1 (PS #1) corresponds to adjust-
  embodiments (as exemplified above with the transmitter                    ing the phase characteristic of the QAM-modulated carrier
  pseudo-RNG), the DMTtransmitter22 can transmit the value                  signal associated with a carrier number N by
  to the remote receiver 34 (or vice versa) over the communi-
  cation channel 18.
     In other embodiments, other predefined parameters can be          65
  used in conjunction with the symbol count. One example of
  such a predefined parameter is the superframe count that
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                                                           US 8,218,610 B2
                                         7                                                                     8
  modulo (mod) 2n. In this example, a carrier signal having a              (Note that 9 is the 5th value in X N ) The carrier signal with a
  carrier number N equal to 50 has a phase shift added to the              carrier number N equal to 6 has a phase shift added to the
  phase characteristic of that carrier signal equal to                     phase characteristic of the carrier signal equal to
                              Jr                  2
                         sax 3 (mod2Jr) =         3Jr·
                                                                                                          Jr          5Jr
                                                                                                  (5) x   "6 (mod2n) = (5'
  The carrier signal with a carrier number N equal to 51 has a
  phase shift added to the phase characteristic of that carrier
  signal equal to                                                             It is to be understood that additional and/or different phase
                                                                      10
                                                                           shifting techniques can be used by the phase scrambler 66,
                               Jr                                          and that PS #1, #2, and #3 are merely illustrative examples of
                          51 x 3 (mod2n) = Jr.
                                                                           the principles of the invention. The DMT transmitter 22 then
                                                                           combines (step 130) the carrier signals to form the transmis-
  The carrier signal with the carrier number N equal to 0 has no
                                                                      15   sion signal 38. If the transmission signal is not clipped, as
  phase shift added to the phase characteristic of that carrier
                                                                           described below, the DMT transmitter 22 consequently trans-
  signal.
                                                                           mits (step 160) the transmission signal 38 to the remote
                   Phase Shifting Example #2                               receiver 34.
                                                                           Clipping of Transmission Signals
     Phase shifting example #2 (PS #2) corresponds to adjust-         20      A transmission signal 38 that has high peak values of
  ing the phase characteristic of the QAM-modulated carrier                voltage (i.e., a high PAR) can induce non-linear distortion in
  signal associated with a carrier number N by                             the DMT transmitter 22 and the communication chaunel18.
                                                                           One form of this non-linear distortion of the transmission
                                                                           signal 38 that may occur is the limitation of the amplitude of
                                             Jr                       25   the transmission signal 38 (i.e., clipping). For example, a
                             (N+M)X
                                             4,                            particular DMT symbol 70 clips in the time domain when one
                                                                           or more time domain samples in that DMT symbol 70 are
  mod 2n, where M is the symbol count. In this example, a                  larger than the maximum allowed digital value for the DMT
  carrier signal having a carrier number N equal to 50 on DMT              symbols 70. In multicarrier communication systems when
                                                                      30
  symbol count M equal to 8 has a phase shift added to the phase           clipping occurs, the transmission signal 38 does not accu-
  characteristic of that carrier signal equal to                           rately represent the input serial data bit signal 54.
                                                                              In one embodiment, the DSL communication system 2
                                                                           avoids the clipping of the transmission signal 38 on a DMT
                                    Jr               Jr               35   symbol 70 by DMT symbol 70 basis. The DMT transmitter 22
                       (50 + 8) x   4(mod2n) = 2'
                                                                           detects (step 140) the clipping of the transmission signal 38.
                                                                           If a particular DMT symbol 70 clips in the time domain to
  The carrier signal with the same carrier number N equal to 50            produce a clipped transmission signal 38, the DMT transmit-
  on the next DMT symbol count M equal to 9 has a phase shift              ter 22 substitutes (step 150) a predefined transmission signal
  added to the phase characteristic of that carrier signal equal to   40   78 for the clipped transmission signal 38.
                                                                              The predefined transmission signal 78 has the same dura-
                                                                           tion as a DMT symbol 70 (e.g., 250 ms) in order to maintain
                                    Jr               3Jr                   symbol timing between the DMT transmitter 22 and the
                       (50 + 9)x    4(mod2Jr) = 4'
                                                                           remote receiver 34. The predefined transmission signal 78 is
                                                                      45   not based on (i.e., independent of) the modulated input data
                                                                           bit stream 54; it is a bit value pattern that is recognized by the
                   Phase Shifting Example #3                               remote receiver 34 as a substituted signal. In one embodi-
                                                                           ment, the predefined transmission signal 78 is a known
     Phase shifting example #3 (PS #3) corresponds to adjust-              pseudo-random sequence pattern that is easily detected by the
  ing the phase characteristic of the QAM-modulated carrier           50   remote receiver 34. In another embodiment, the predefined
  signal associated with a carrier number N by                             transmission signal 78 is an "all zeros" signal, which is a zero
                                                                           voltage signal produced at the DMT transmitter 22 output
                                                                           (i.e., zero volts modulated on all the carrier signals). In addi-
                                                                           tion to easy detection by the remote receiver 34, the zero
                                                                      55   voltage signal reduces the power consumption of the DMT
                                                                           transmitter 22 when delivered by the DMT transmitter 22.
  mod 2n, where X N is an array ofN pseudo-random numbers.                 Further, a pilot tone is included in the predefined transmission
  In this example, a carrier signal having a carrier number N              signal 78 to provide a reference signal for coherent demodu-
  equal to 5 andXNequal to [3, 8,1,4,9,5, ... Jhas a phase shift           lation of the carrier signals in the remote receiver 34 during
  added to the phase characteristic of the carrier signal that is     60   reception of the predefined transmission signal 78.
  equal to                                                                    After the remote receiver 34 receives the transmission sig-
                                                                           na138, the remote receiver 34 determines if the transmission
                                                                           signal 38 is equivalent to the predefined transmission signal
                                                                           78. In one embodiment, when the remote receiver 34 identi-
                                                                      65   fies the predefined transmission signal 78, the remote receiver
                                                                           34 ignores (i.e., discards) the predefined transmission
                                                                           signal 78.
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                                  9                                                                     10
      Following the transmission of the predefined transmission           time domain samples in the different set of time domain
   signal 78, the phase scrambler 66 shifts (step 120) the phase          samples 70 (and consequently the transmission signal 38) is
   characteristic of the QAM-modulated carrier signals (based             clipped, then the DMT transmitter 22 sends the predefined
   on one of the predefined parameters that varies over time). For        transmission signal 78 again. The process continues until a
   example, consider that a set of QAM symbols 58 produces a              DMT symbol 70 is produced without a time domain sample
   DMT symbol 70 comprising a plurality of time domain                    70 that is clipped. In one embodiment, the transmitter 22 stops
   samples, and that one of the time domain samples is larger             attempting to produce a non-clipped DMT symbol 70' for the
   than the maximum allowed digital value for the DMT symbol              particular set of QAM symbols 58 after generating a prede-
   70. Therefore, because the transmission signal 38 would be             termined number of clipped DMT symbols 70'. At that
   clipped when sent to the remote receiver 34, the DMT trans-       10   moment, the transmitter 22 can transmit the most recently
   mitter 22 sends the predefined transmission signal 78 instead.         produced clipped DMT symbol 70' or the predetermined
      After transmission of the predefined transmission signal            transmission signal 78.
   78, the DMT transmitter 22 again attempts to send the same                The PAR of the DSL communication system 2 is reduced
   bit values that produced the clipped transmission signal 38 in         because the predefined transmission signal 78 is sent instead
   a subsequent DMT symbol 70'. Because the generation of            15   of the transmission signal 38 when the DMT symbol 70 clips.
   phase shifts in this embodiment is based on values that vary           For example, a DMT communication system 2 that normally
   over time, the phase shifts computed for the subsequent D MT           has a clipping probability of 10-7 for the time domain trans-
   symbol 70' are different than those that were previously com-          mission signal 38 can therefore operate with a 10-5 probabil-
   puted for the DMT symbol 70 with the clipped time domain               ityofclippingandalowerPARequal to 12.8 dB (as compared
   sample. These different phase shifts are combined to the          20   to 14.5 dB). When operating at a 10-5 probability of clipping,
   phase characteristics of the modulated carrier signals to pro-         assuming a DMT symbol 70 has 512 time-domain samples
   duce carrier signals of the subsequent DMT symbol 70' with             70, the DMT transmitter 22 experiences one clipped DMT
   different phase characteristics than the carrier signals of the        symbol 70 out of every
   DMT symbol 70 with the clipped time domain sample.
      DMT communication systems 2 infrequently produce               25
   transmission signals 38 that clip (e.g., approximately one clip
   every 107 time domain samples 70). However, if the subse-
   quent DMT symbol 70' includes a time domain sample that                or 195 DMT symbols 70. This results in the predefined (non-
   clips, then the predefined transmission signal 78 is again             data carrying) transmission signal 78 being transmitted, on
   transmitted (step 150) to the remote receiver 34 instead of the        average, once every 195 DMT symbols. Although increasing
   clipped transmission signal 38. The clipping time domain          30   the probability of clipping to 10- 5 results in approximately a
   sample may be on the same or on a different carrier signal than        0.5% (11195) decrease in throughput, the PAR of the trans-
   the previously clipped DMT symbol 70. The DMT transmit-                mission signal 38 is reduced by 1.7 dB, which reduces trans-
   ter 22 repeats the transmission of the predefined transmission         mitter complexity in the form of power consumption and
   signal 78 until the DMT transmitter 22 produces a subsequent           component linearity.
   DMT symbol 70' that is not clipped. When the DMT trans-           35      While the invention has been shown and described with
   mitter 22 produces a DMT symbol 70' that is not clipped, the           reference to specific preferred embodiments, it should be
   DTM transmitter 22 transmits (step 160) the transmission               understood by those skilled in the art that various changes in
   signal 38 to the remote receiver 34. The probability of a DMT          form and detail may be made therein without departing from
   symbol 70 producing a transmission signal 38 that clips in the         the spirit and scope of the invention as defined by the follow-
   time domain depends on the PAR of the transmission signal         40   ing claims. For example, although the specification uses DSL
   38.                                                                    to describe the invention, it is to be understood that various
      For example, the following phase shifting example, PST              form ofDSL can be used, e.g., ADSL, VDSL, SDSL, HDSL,
   #4, illustrates the method used by the phase scrambler 66 to           HDSL2, or SHDSL. It is also to be understood that the prin-
   combine a different phase shift to the phase characteristic of         ciples of the invention apply to various types of applications
   each carrier signal to avoid the clipping of the transmission     45   transported over DSL systems (e.g., telecommuting, video
   signal 38.                                                             conferencing, high speed Internet access, video-on demand).

                    Phase Shifting Example #4                               What is claimed is:
                                                                            1. A method, in a first transceiver that uses a plurality of
      Phase shifting example #4 (PS #4) corresponds to adjust-       50   carrier signals for receiving a bit stream that was transmitted
   ing the phase characteristic of the carrier signal associated          by a second transceiver, wherein each carrier signal has a
   with a carrier number N by                                             phase characteristic associated with the bit stream, the
                             7r                                           method comprising:
                             3" x(M +N),                                    receiving the bit stream from the second transceiver,
                                                                     55        wherein:
   mod 2Jt, where m is the DMT symbol count. In this example,                  each carrier signal is associated with a value determined
   if the DMT symbol 70 clips when the DMT symbol count M                         independently of any bit value of the bit stream car-
   equals 5, the predefined transmission signal 78 is transmitted                 ried by that respective carrier signal, the value asso-
   instead of the current clipped transmission signal 38. On the                  ciated with each carrier signal determined by a
   following DMT symbol period, the DMT count M equals 6,            60           pseudo-random number generator,
   thereby causing a different set of time domain samples to be                a phase shift for each carrier signal is at least based on:
   generated for the subsequent DMT symbol 70', although the                      the value associated with that carrier signal, and
   QAM symbols 58 used to produce both DMT symbols 70, 70'                        the combining of a phase for each carrier signal with
   are the same.                                                                     the phase characteristic of that respective carrier
       If this different set of time domain samples (and conse-      65              signal so as to substantially scramble the phase
   quently the transmission signal 38) is not clipped, the DMT                       characteristics of the plurality of carrier signals,
   transmitter 22 sends the transmission signal 38. If one of the                    and
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                                  11                                                                        12
         multiple carrier signals corresponding to the plurality of              16. The system of claim 14, wherein the first transceiver is
           phase shifted and scrambled carrier signals are used               VDSL transceiver.
           by the first transceiver to demodulate a same bit value               17. The system of claim 14, wherein the first and second
            of the received bit stream; and                                   transceivers are multi carrier DSL transceivers.
         wherein:                                                                18. The system of claim 14, wherein the first and second
           the first and second transceivers communicate over                 transceiver are used for high speed internet access.
               one or more ofa pair of twisted wires ofa telephone               19. The system of claim 14, further comprising the second
               subscriber line and fiber optic, and                           transceiver independently deriving the values associated with
           the first and second transceivers transport video.                 each carrier using a second pseudo-random number generator
      2. The method of claim 1, wherein the first transceiver is a
                                                                         10   in the second transceiver.
   cable transceiver.
                                                                                 20. The system of claim 19, wherein the first and second
      3. The method of claim 1, wherein the first transceiver is
                                                                              transceivers use a same seed for the pseudo-random number
   VDSL transceiver.
      4. The method of claim 1, wherein the first and second                  generator.
   transceivers are multi carrier DSL transceivers.                      15
                                                                                 21. The system of claim 19, wherein the first and second
      5. The method of claim 1, wherein the first and second                  transceivers are wireless transceivers.
   transceivers are used for high speed internet access.                         22. The system of claim 19, wherein the first and second
      6. The method of claim 1, further comprising, in the second             transceivers are cable transceivers.
   transceiver, independently deriving the values associated                     23. The system of claim 19, wherein the first and second
   with each carrier using a second pseudo-random number                 20   transceivers are DSL transceivers connected using a pair of
   generator in the second transceiver.                                       twisted wires of a telephone subscriber system.
      7. The method of claim 6, wherein the first and second                     24. The system of claim 23, wherein the first and second
   transceivers use a same seed for the pseudo-random number                  transceivers are VDSL transceivers.
   generator.                                                                    25. The system of claim 19, wherein the first and second
      8. The method of claim 6, wherein the first and second             25   transceivers are multi carrier DSL transceivers.
   transceivers are wireless transceivers.                                       26. The system of claim 19, wherein the first and second
      9. The method of claim 6, wherein the first and second                  transceivers are also used for high speed internet access.
   transceivers are cable transceivers.                                          27. The method of claim 14, wherein the first and second
      10. The method of claim 6, wherein the first and second                 transceivers each include a digital signal processor.
   transceivers are DSL transceivers counected using a pair of           30      28. The method of claim 1, wherein the first and second
   twisted wires of a telephone subscriber system.                            transceivers each include a digital signal processor.
      11. The method of claim 10, wherein the first and second                   29. The method of claim 1, wherein the video is video-on
   transceivers are VDSL transceivers.                                        demand.
      12. The method of claim 6, wherein the first and second                    30. The method of claim 14, wherein the video is video-on
   transceivers are multi carrier DSL transceivers.                      35   demand.
      13. The method of claim 6, wherein the first and second                    31. A method, in a first transceiver that uses a plurality of
   transceivers are also used for transport high speed internet               carrier signals for receiving a bit stream that was transmitted
   access.                                                                    by a second transceiver, wherein each carrier signal has a
      14. A communication system including a first transceiver                phase characteristic associated with the bit stream, the
   that uses a plurality of carrier signals for receiving a bit stream   40   method comprising:
   that was transmitted by a second transceiver, wherein each                    receiving the bit stream from the second transceiver,
   carrier signal has a phase characteristic associated with the bit                wherein:
   stream, the transceiver capable of receiving from the second                     each carrier signal is associated with a value determined
   transceiver the bit stream, wherein:                                                independently of any bit value of the bit stream car-
      each carrier signal is associated with a value determined          45            ried by that respective carrier signal, the value asso-
         independently of any bit value of the bit stream carried                      ciated with each carrier signal determined by a
         by that respective carrier signal, the value associated                       pseudo-random number generator,
         with each carrier signal determined by a pseudo-random                     a phase shift for each carrier signal is at least based on:
         number generator,                                                             the value associated with that carrier signal, and
      a phase shift for each carrier signal is at least based on:        50            the combining of a phase for each carrier signal with
         the value associated with that respective carrier signal,                        the phase characteristic of that respective carrier
            and                                                                           signal so as to substantially scramble the phase
         the combining of a phase shift for each carrier signal                           characteristics of the plurality of carrier signals,
           with the phase characteristic of that respective carrier                       and
            signal so as to substantially scramble the phase char-       55         multiple carrier signals corresponding to the plurality of
            acteristics of the plurality of carrier signals, and                       phase shifted and scrambled carrier signals are used
      multiple carrier signals corresponding to the plurality of                       by the first transceiver to demodulate a same bit value
         phase shifted and scrambled carrier signals are used by                       of the received bit stream; and
         the first transceiver to demodulate a same bit value of the                wherein:
         received bit stream; and                                        60            the first and second transceivers communicate over
      wherein:                                                                            one or more ofa pair of twisted wires ofa telephone
         the first and second transceivers communicate over one                           subscriber line and fiber optic, and
            or more of a pair of twisted wires of a telephone                          the first and second transceivers are used for internet
            subscriber line and fiber optic, and                                          access.
         the first and second transceivers transport video.              65
      15. The system of claim 14, wherein the first transceiver is
   a cable transceiver.                                                                              * * * * *
